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October 13, 2020

Via ECF

The Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York
United States Courthouse

40 Foley Square

New York, New York 10007

Re: United States v. Brandon Johnson, et al. (Dyquan Christopher)
19-CR-828 (ALC)
Dear Judge Carter:

I represent Dyquan Christopher in the above matter. Mr. Christopher’s bail conditions
restrict his traveling outside of New York. I have been working out of my New Jersey office
since the onset of COVIC-19, which is in Verona, NJ. I would like to have an opportunity to
review the discovery we have received with Mr. Christopher in my New Jersey office. Therefore,
I am requesting a modification in his travel restrictions to include travel to and from my office in
Verona, New Jersey. Neither, Ryan Finkel, AUSA, nor Ashley Cosme, Pretrial Service Officer,
have any objection to this request. Mr. Christopher will coordinate with Ms. Cosmi the time for
him to leave and return to New York with each visit. I appreciate Your Honor’s consideration

‘application is Y granted.

J Cai Respectfully,

Andrew L. Carter Jr, U. S. D. J.

Dated: \W-\b-20 a Lorraine Gauli-Rufo
NY, New York

cc: All Counsel of Record

  

 

 
